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                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

 LINDSAY HECOX, and JANE DOE with
 her next friends JEAN DOE and JOHN             Case No. 1:20-cv-00184-DCN
 DOE,
                                                MEMORANDUM IN SUPPORT OF
                       Plaintiffs,              MOTION TO DISMISS

       v.

 BRADLEY LITTLE, in his official
 capacity as Governor of the State of Idaho;
 SHERRI YBARRA, in her official capacity
 of the State of Idaho and as a member of the
 Idaho State Board of Education; THE
 INDIVIDUAL MEMBERS OF THE
 STATE BOARD OF EDUCATION, in
 their official capacities; BOISE STATE
 UNIVERSITY; MARLENE TROMP, in
 her official capacity as President of Boise
 State University; INDEPENDENT
 SCHOOL DISTRICT OF BOISE CITY #1;
 COBY DENNIS, in his official capacity as
 superintendent of the Independent School
 District of Boise City #1; THE
 INDIVIDUAL MEMBERS OF THE



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 BOARD OF TRUSTEES OF THE
 INDEPENDENT SCHOOL OF DISTRICT
 OF BOISE CITY #1; in their official
 capacities; THE INDIVIDUAL MEMBERS
 OF THE IDAHO CODE COMMISSION,
 in their official capacities,

                         Defendants.


       Plaintiffs bring a facial challenge to a newly-enacted statute that has not yet come into

effect, but they lack standing, their claims are not ripe, and HB 500 will have indisputably

constitutional applications under clear Ninth Circuit precedent. Plaintiffs cannot establish an

injury in fact because HB 500 cannot affect them until third parties act under not-yet-

promulgated rules and regulations. Plaintiffs’ claims are not yet ripe for similar reasons, their

alleged future harms being fatally speculative. Finally, the Ninth Circuit Court of Appeals has

directly upheld the exclusion of boys from girls’ sports teams—a potential future application of

HB 500’s plain language.

       For these reasons, Plaintiffs’ complaint should be dismissed because the Court lacks

subject-matter jurisdiction, and because Plaintiffs’ complaint fails to state a claim upon which

relief can be granted.


                               I.      FACTUAL BACKGROUND

       Plaintiffs brought this complaint shortly after HB 500 was passed, and before its July 1,

2020 effective date. They assert in their complaint that they intend to try out for women’s sports

teams in the fall, and that HB 500 will apply to them.

       HB 500 defines three categories of sports teams in Idaho public schools and institutions

of higher learning: men’s, women’s and mixed. It provides that “Athletic teams or sports

designated for females, women, or girls shall not be open to students of the male sex.” HB 500



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provides that the State Board of Education must promulgate rules and regulations to specify a

process for situations in which a third party intends to bring a “dispute regarding a student’s

sex.”

        To guide the State Board of Education in promulgating these regulations, HB 500

instructs that the dispute can be resolved in one of two ways, either by “requesting that the

student provide a health examination and consent form” or by some “other statement signed by

the student’s personal health care provider that shall verify the student’s biological sex.” HB 500

suggests factors that the health care provider may use “as part of a routine sports physical

examination” in determining the athlete’s biological sex, and provides that if a health care

provider uses this process he would be allowed to base the verification on one of three factors—

but it does not expressly require that this is the only process upon which that determination can

be based: “The health care provider may verify the student’s biological sex as part of a routine

sports physical examination relying only on one (1) or more of the following: the student’s

reproductive anatomy, genetic makeup, or normal endogenously produced testosterone levels.”

(Dkt. 1, Exhibit A, § 33–6203(3)). The signed form or statement is all that is required to be

provided to the school or institution in order to verify an athlete’s sex; HB 500 does not require

the health care provider to disclose to anyone any private medical information, including the

underlying basis for the verification, or to use the three specified factors in providing an “other

statement” verifying “the student’s biological sex.”

        To support its distinction between men’s, women’s, and mixed teams, as well as the

exclusion of male athletes from women’s teams, HB 500 includes legislative findings regarding

the physiological advantage male athletes have over female athletes, and the interest in providing

opportunities for women to meaningfully participate in sports.




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                                        II.   STANDARD

   A. 12(b)(1)

       A motion to dismiss based on non-justiciability is brought under Fed. R. Civ. Pro.

12(b)(1). Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011) (explaining that Rule

12(b)(1) is the appropriate vehicle for a motion to dismiss based on lack of Article III standing);

Valentin v. Hosp. Bella Vista, 254 F.3d 358, 362–63 (1st Cir. 2001) (explaining that Rule

12(b)(1) is the appropriate vehicle for a motion to dismiss on grounds of ripeness or mootness).

When subject matter jurisdiction is challenged pursuant to Rule 12(b)(1), the plaintiff bears the

burden of persuasion. Indus. Tectonics, Inc. v. Aero Alloy, 912 F.2d 1090, 1092 (9th Cir. 1990)

(citing McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936)).

       “A Rule 12(b)(1) jurisdictional attack may be facial or factual. . . . In a facial attack, the

challenger asserts that the allegations contained in a complaint are insufficient on their face to

invoke federal jurisdiction.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir.

2004). In resolving a facial attack, the Court must accept the factual allegations of the complaint

as true and draw all reasonable inferences in plaintiffs’ favor. Doe v. Holy See, 557 F.3d 1066,

1073 (9th Cir.2009).

       “By contrast, in a factual attack, the challenger disputes the truth of the allegations that,

by themselves, would otherwise invoke federal jurisdiction.” Meyer, 373 F.3d at 1039. In

resolving a factual attack on jurisdiction, the court need not presume the truthfulness of the

plaintiff’s allegations, and may review evidence beyond the complaint without converting the

motion to dismiss into a motion for summary judgment. Id.




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    B. 12(b)(6)

        To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). Dismissal is appropriate if there is a lack of any cognizable legal theory or

a failure to plead sufficient facts to support a cognizable legal theory. Balistreri v. Pacifica

Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). In deciding a motion to dismiss for failure to

state a claim under Rule 12(b)(6), the court generally should not consider materials outside the

pleadings. See Cooper v. Pickett, 137 F.3d 616, 622 (9th Cir. 1997). However, the court may

consider attachments to the complaint and any document referred to in (even if not appended to)

the complaint, where the authenticity of such a document is not in question. Id. at 622–23. A

court may also take judicial notice of matters of its own records, In re Korean Air Lines Co.,

Ltd., Antitrust Litigation, 642 F.3d 685, 689 n.1 (9th Cir. 2011), and public records, such as

records and reports of administrative bodies, Barron v. Reich, 13 F.3d 1370 (9th Cir. 1994).


                                         III. ARGUMENT

    A. Plaintiffs lack standing.

        The “irreducible constitutional minimum” of standing consists of three elements: (1) the

plaintiff must have suffered an injury in fact, (2) that is fairly traceable to the challenged conduct

of the defendant and not the result of the independent action of some third party not before the

court, and (3) that is likely to be redressed by a favorable judicial decision. Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560 (1992). The plaintiff has the burden of establishing all three

elements. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). Standing is examined at the

commencement of the litigation. White v. Lee, 227 F.3d 1214, 1243 (9th Cir. 2000).




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       To survive a 12(b)(1) motion at the pleading stage (a facial challenge to subject-matter

jurisdiction) the plaintiff must have clearly alleged facts demonstrating each element of standing

in the complaint. Spokeo, 136 S. Ct. 1540, 1547 (2016). Here, Plaintiffs have failed to clearly

allege facts demonstrating injury in fact.

       “To establish injury in fact, a plaintiff must show that he or she suffered ‘an invasion of a

legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not

conjectural or hypothetical.’” Id. at 1548 (quoting Lujan, 504 U.S. at 560). “A plaintiff

threatened with future injury has standing to sue if the threatened injury is ‘certainly impending,’

or there is a ‘substantial risk that the harm will occur.’” In re Zappos.com, Inc., 888 F.3d 1020,

1024 (9th Cir. 2018) (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)). A

plaintiff cannot establish standing by alleging a threat of future harm based on a chain of

speculative contingencies. Nelsen v. King Cty., 895 F.2d 1248, 1251–53 (9th Cir. 1990).

       Plaintiffs have not alleged an injury in fact because all alleged harms are conjectural,

hypothetical, or based on a chain of speculative contingencies. Further, because HB 500 has not

yet come into effect, all alleged harm is future harm—and Plaintiffs have not shown that the

alleged injuries are certainly impending, or that there is a substantial risk of harm occurring.

       The harm Plaintiffs assert in Counts I through IV is described as being subject to

exclusion from participation on a women’s sports team and being required to verify their sex.

However, Plaintiffs acknowledge in their complaint that these two harms would occur only if a

third party disputed their sex. (Dkt. 1, ¶¶ 144–45.) In order for this alleged harm to occur,

Plaintiffs must try out for and make the respective teams, and a third party must dispute

Plaintiffs’ respective sexes according to regulations that the State Board of Education has not yet

promulgated.




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       Doe asserts her injury would occur when she was required to “submit to invasive

treatment,” or be “forc[ed]” to “undergo invasive internal and external reproductive

examinations,” (Dkt. 1, ¶¶ 144, 157, 168, 181). Her assertion ignores language in HB 500 that

allows her to simply provide a health examination and consent form from her sports physical, or

an “other statement” from her “personal health care provider,” which the statute provides is

sufficient to verify one’s sex (Dkt. 1, Exhibit A, § 33–6203(3)). Her allegations assume a

speculative string of contingencies that might not, and need not, come to pass.

       Hecox asserts her injury would occur when a dispute resulted in her ultimately being

excluded from participation on the team. (Dkt. 1, ¶¶ 144–45, 180.) While possible in the future,

this outcome is far from imminent. Hecox has not alleged that she has been accepted onto the

cross-country or track team. 1 She has not alleged that a third party has disputed her sex, nor

could she until the statute comes into effect. She has not alleged that any such dispute has been

properly brought, nor could she until the State Board of Education promulgates the rules

governing such disputes.

       The future harm asserted under Counts I through IV is contingent on speculations about

the actions of third parties under a regulatory scheme that has not been promulgated yet. It is

speculative and hypothetical, not imminent.



1
  Additionally, although Hecox alleges that she is otherwise eligible to participate on the
women’s team, her conclusory allegation does not allege facts sufficient to support this. For
example, she does not allege facts—including dates—showing that she has been undergoing
hormone treatment for one calendar year prior to participation, as would be required under
NCAA regulations. Further, she has not alleged sufficient facts to show that she would be
otherwise eligible in light of Title IX. Her participation on a women’s team may be precluded by
Title IX, making her ineligible to participate before even considering HB 500. The United States
Department of Education recently opined that allowing transgender high school athletes in
Connecticut to participate in women’s sports violated the rights of female athletes under Title IX
(see US: Transgender Sports Inclusion Violates Others’ Rights, ASSOCIATED PRESS,
https://apnews.com/5c1d9682fb92ed9c277c7e139bdab9ed (May 28, 2020)).


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        The harm alleged under Counts II and III include an allegation that Plaintiffs are “forced”

to turn over private medical information to the government in order to play sports. (Dkt. 1, ¶¶

157, 168.) However, this allegation is not based in HB 500’s text, which requires a “health

examination and consent form or other statement signed by the student’s personal health care

provider” when there is a dispute, and does not require that the health care provider expound

further or disclose any underlying health information. If Plaintiffs make the respective teams and

if either is subject to the dispute process to be described in future rules and regulations from the

State Board of Education, the only people that need know the private medical information

underlying the sex verification are the athlete and the doctor. The allegation that Plaintiffs would

be required to disclose personal medical information is speculative at best, and is not supported

by the text of HB 500.

        Finally, Plaintiffs allege in Count V that HB 500 injures them by chilling them from

participating in sports. However, this allegation conflicts with Plaintiffs’ statement in their

complaint that they both intend to try out for sports this fall. (Dkt. 1, ¶¶ 6–7.) If Plaintiffs no

longer intend to try out for any sports this fall, then Counts I through IV would fail because

Plaintiffs’ alleged future injuries depend on attempting to participate in sports. If Plaintiffs intend

to try out for sports this fall, then a future operation of HB 500 did not chill them after all.

Plaintiffs cannot consistently assert both while alleging a future harm.

        In summary, Plaintiffs have failed to allege facts sufficient to establish an injury in fact

and have no standing. Therefore the Court lacks subject-matter jurisdiction based on the face of

the complaint.




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    B. Plaintiffs’ claims are not ripe.

        Motions raising the ripeness issue are brought under Rule 12(b)(1), and can be based on

the complaint’s allegations alone or supported by evidence. St. Clair v. City of Chico, 880 F.2d

199, 201 (9th Cir. 1989). “It then becomes necessary for the party opposing the motion to present

affidavits or any other evidence necessary to satisfy its burden of establishing that the court, in

fact, possesses subject matter jurisdiction.” Id. The burden of establishing ripeness rests on the

party asserting the claim. Colwell v. Dep’t of Health & Human Servs., 558 F.3d 1112, 1121 (9th

Cir. 2009).

        “[R]ipeness doctrine reflects both constitutional and prudential considerations.” Id. at

1123. The constitutional aspect of ripeness is similar to the injury in fact requirement under

Article III standing: it requires concrete legal issues presented in actual cases, not abstractions.

Id. “A claim is not ripe for adjudication if it rests upon ‘contingent future events that may not

occur as anticipated, or indeed may not occur at all.’” Texas v. United States, 523 U.S. 296, 300

(1998) (quoting Thomas v. Union Carbide Agricultural Products Co., 473 U.S. 568, 580–81

(1985)).

        To determine whether a case is ripe under prudential ripeness, courts consider two

factors: (1) the fitness of the issues for judicial decision, and (2) the hardship to the parties

stemming from the withholding of court consideration. Knapp v. City of Coeur d’Alene, 172 F.

Supp. 3d 1118, 1130 (D. Idaho 2016) (citing Addington v. U.S. Airline Pilots Ass’n, 606 F.3d

1174, 1179 (9th Cir.2010)).

        Plaintiffs’ claim is not yet ripe for similar reasons that they have failed to show an injury

in fact. The alleged controversy has not yet become concrete. First, HB 500 is not yet effective.

Second, once it is effective, HB 500 cannot have any effect on Plaintiffs until they have chosen




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to try out for a team, make the team, 2 and are subjected to a dispute over their respective sexes.

For a dispute to be brought, a third party must comply with rules and regulations that are not yet

promulgated by the State Board of Education. A chain of speculative contingencies lie between

the time Plaintiffs filed their complaint and the hypothetical harm alleged. For this reason, this

case is not ripe under Article III.

        Further, the case is not yet fit for judicial decision. The State Board of Education’s

forthcoming rules and regulations may alleviate some or all of Plaintiffs’ concerns. And because

a third party will be required to comply with these regulations in order to dispute either

Plaintiff’s sex, a court needs the opportunity to determine whether the procedural requirements

were met before Plaintiffs would suffer any of the alleged harms. Plaintiffs would need to choose

to try out for sports and make teams before there would be any opportunity for a dispute. This all

assumes that fall sports even take place—which is an uncertainty at this point in time.

        Any hardship of withholding court consideration is minimal. Just as Plaintiffs desire

preliminary relief in this case, they could seek similar preliminary relief if at some point the

speculative contingencies are fulfilled and Plaintiffs are faced with a dispute brought properly

through the forthcoming regulations.

        This case is not ripe for purposes of subject-matter jurisdiction under Article III, and

prudential concerns similarly weigh against ripeness. The complaint must be dismissed for lack

of subject-matter jurisdiction.



2
  As explained in Note 1, supra, Hecox has not alleged sufficient facts to establish that, setting
aside HB 500, she would be otherwise eligible to participate. She has not alleged facts by which
the Court can determine that she has been participating in hormone therapy for a full calendar
year as required under NCAA rules, and she has not alleged sufficient facts to show that Boise
State University could allow her to participate in tryouts in August without violating Title IX.
Her eligibility, independent of HB 500, is entirely speculative based on the facts of her
complaint.


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   C. Plaintiffs’ facial challenge to HB 500 fails because its provisions can be
      constitutionally applied.

       Plaintiffs’ complaint should be dismissed under Rule 12(b)(6) because their facial

challenge of HB 500 fails.

       Plaintiffs bring a facial challenge against HB 500. Plaintiffs’ prayer for relief asks the

Court to declare the provisions “of HB 500 as discussed above” unconstitutional, to enjoin their

enforcement, and to require that publication of the statute note this unconstitutionality. (Dkt. 1, p.

53.) The complaint quotes provisions of HB 500, including the provision defining three separate

teams for males, females, and coed; the provision stating “Athletic teams or sports designated for

females, women, or girls shall not be open to students of the male sex”; and the provision

describing disputes over an athlete’s sex. (Dkt. 1, ¶ 87.)

       The complaint’s allegations assert injury to more than just the Plaintiffs; they contend HB

500 will negatively impact “those competing in women’s sports,” (Dkt. 1, ¶ 144), and “women

and girls,” (Dkt. 1, ¶¶ 157, 168).

       Given Plaintiffs’ allegations and their request that this court hold HB 500

unconstitutional as a whole, Plaintiffs’ challenge to HB is facial. “A facial challenge to a

legislative Act is, of course, the most difficult challenge to mount successfully, since the

challenger must establish that no set of circumstances exists under which the Act would be

valid.” United States v. Salerno, 481 U.S. 739, 745 (1987). “In determining whether a law is

facially invalid, we must be careful not to go beyond the statute’s facial requirements and

speculate about ‘hypothetical’ or ‘imaginary’ cases.” Washington State Grange v. Washington

State Republican Party, 552 U.S. 442, 449–50 (2008). The Ninth Circuit Court of Appeals has

explained:

       Facial challenges are disfavored for two reasons. First, when considering complex
       and comprehensive legislation, we may not resolve questions of constitutionality


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        with respect to each potential situation that might develop, especially when the
        moving party does not demonstrate that the legislation would be unconstitutional
        in a large fraction of relevant cases. Second, facial challenges often rest on
        speculation. Consequently, they raise the risk of premature interpretations of
        statutes on the basis of factually barebones records, and threaten to short circuit the
        democratic process by preventing laws embodying the will of the people from being
        implemented in a manner inconsistent with the Constitution.

Jackson v. City & Cty. of San Francisco, 746 F.3d 953, 962 (9th Cir. 2014) (internal quotation

marks and citations omitted).

        Plaintiffs’ facial challenge fails because there is a set of circumstances under which HB

500 constitutionally excludes some athletes from participating in women’s sports. In Clark ex

rel. Clark v. Arizona Interscholastic Ass’n, 695 F.2d 1126 (9th Cir. 1982), cert. denied, 464 U.S.

818 (1983), the Ninth Circuit held that an Arizona policy of excluding boys from playing on

girls’ high school sports teams was constitutionally permissible. The court explained that taking

into account “actual differences between the sexes, including physical ones,” is permissible, “not

invidious, but rather realistically reflects the fact that the sexes are not similarly situated in

certain circumstances.” Id. at 1129 (quoting Michael M. v. Sonoma County Superior Court, 450

U.S. 464, 468–69 (1981)). The court acknowledged the important government interest in

“redressing past discrimination against women in athletics and promoting equality of athletic

opportunity between the sexes.” Id. at 1131. Further, the court recognized that

        due to average physiological differences, males would displace females to a
        substantial extent if they were allowed to compete for positions on the volleyball
        team. Thus, athletic opportunities for women would be diminished. As discussed
        above, there is no question that the Supreme Court allows for these average real
        differences between the sexes to be recognized or that they allow gender to be used
        as a proxy in this sense if it is an accurate proxy.

Id. In conclusion, the court stated, “While equality in specific sports is a worthwhile ideal, it

should not be purchased at the expense of ultimate equality of opportunity to participate in




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sports. As common sense would advise against this, neither does the Constitution demand it.” Id.

at 1132.

        Clark squarely holds that excluding boys from the girls’ team is constitutional,

acknowledging the same government interests that HB 500 advances in its legislative findings,

such as protecting women’s opportunity to compete in sports in spite of physiological differences

that give men a physical advantage on average. (Dkt. 1, pp. 57–58.) Setting aside the issue of

transgender athletes, HB 500 specifically excludes boys from girls’ teams. Any application of

HB 500 to exclude boys from girls’ teams would be a set of circumstances in which it operated

constitutionally. Therefore, Plaintiffs’ facial challenge fails.


                                        IV. CONCLUSION

        For the foregoing reasons, Plaintiffs’ complaint should be dismissed with prejudice for

lack of subject-matter jurisdiction or for failure to state a claim upon which relief can be granted.

        DATED this 1st day of June, 2020.

                                                      STATE OF IDAHO
                                                      OFFICE OF THE ATTORNEY GENERAL


                                                By: /s/ Dayton P. Reed
                                                    DAYTON P. REED
                                                    Deputy Attorney General




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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on June 1, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following persons:

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